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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:03CR290
                              )
          v.                  )
                              )
STERLING McKOY,               )             ORDER AND JUDGMENT
                              )
                Defendant.    )
______________________________)


           Pursuant to the memorandum opinion entered herein this
date,

           IT IS ORDERED that defendant’s motion for reduction of

sentence pursuant to the November 1, 2010, Amendments to the

United States Sentencing Guidelines (Filing No. 442) is denied.

           DATED this 16th day of March, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
